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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION                                                FILED
                                                                                           Scott L. Poff, Clerk
                                                                                        United States District Court

                                                                                    By mgarcia at 1:04 pm, Jan 27, 2020

 STACY MILLER,

                  Plaintiff,                                 CIVIL ACTION NO.: 2:17-cv-144

           v.

 CITY OF DARIEN, et al.

                  Defendants.

                                            ORDER

          By Order dated January 16, 2020, the Court scheduled this matter for a Court-assisted

settlement conference. Doc. 77. The Court conducted a settlement conference with the parties

on January 23, 2020, during which the parties reached an agreement to resolve this matter.

          The Court DIRECTS the parties to confer regarding finalization of the settlement

agreement. The Court DIRECTS the parties to file a joint stipulation of dismissal or, in the

absence of a joint stipulation of dismissal, an update on the status of the finalization of the

settlement agreement, on or before February 24, 2020. The Court STAYS all remaining

deadlines until February 24, 2020. If the Court has not received a joint stipulation of dismissal

or a status update by February 24, 2020, the stay put in place by this Order will be automatically

lifted.

          SO ORDERED, this 27th day of January, 2020.




                                       ____________________________________
                                       BENJAMIN W. CHEESBRO
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
